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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                                 ORDER
FEDERAL RULE OF CRIMINAL PROCEDURE 5(F)


KATHERINE POLK FAILLA, District Judge:

         This Order is entered, pursuant to Federal Rule of Criminal Procedure

5(f), to confirm the Government’s disclosure obligations under Brady v.

Maryland, 373 U.S. 83 (1963), and its progeny, and to summarize the possible

consequences of violating those obligations.

         The Government must disclose to the defense all information “favorable

to an accused” that is “material either to guilt or to punishment” and that is

known to the Government. Brady, 373 U.S. at 87. This obligation applies

regardless of whether the information would itself constitute admissible

evidence. The Government shall disclose such information to the defense

promptly after its existence becomes known to the Government so that the

defense may make effective use of the information in the preparation of its

case.

         As part of these obligations, the Government must disclose any

information that can be used to impeach the trial testimony of a Government

witness within the meaning of Giglio v. United States, 405 U.S. 150 (1972), and

its progeny. Such information must be disclosed sufficiently in advance of trial

in order for the defendant to make effective use of it at trial or at such other

time as the Court may order.
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      The foregoing obligations are continuing ones and apply to materials that

become known to the Government in the future. Additionally, if information is

otherwise subject to disclosure, it must be disclosed regardless of whether the

Government credits it.

      In the event the Government believes that a disclosure under this Order

would compromise witness safety, victim rights, national security, a sensitive

law-enforcement technique, or any other substantial government interest, it

may apply to the Court for a modification of its obligations, which may include

in camera review or withholding or subjecting to a protective order all or part of

the information otherwise subject to disclosure.

      For purposes of this Order, the Government includes all current or

former federal, state, and local prosecutors, law enforcement officers, and other

officers who have participated in the prosecution, or the investigation that led

to the prosecution, of the offense or offenses with which the defendant is

charged. The Government has an affirmative obligation to seek from such

sources all information subject to disclosure under this Order.

      If the Government fails to comply with this Order, the Court, in addition

to ordering production of the information, may:

      (i)     specify the terms and conditions of such production;

      (ii)    grant a continuance;

      (iii)   impose evidentiary sanctions;

      (iv)    impose sanctions on any responsible lawyer for the Government;

      (v)     dismiss charges before trial or vacate a conviction after trial or a
              guilty plea; or

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     (vi)    enter any other order that is just under the circumstances.

     SO ORDERED.

Dated:       October 29, 2020
             New York, New York            __________________________________
                                              KATHERINE POLK FAILLA
                                             United States District Judge




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